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                            UNITED STATES DISTRICT COURT
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                           CENTRAL DISTRICT OF CALIFORNIA
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     JENNY LISETTE FLORES; et al.,           Case No. CV 85-4544-DMG
12
                                             ORDER RESETTING HEARING
13           Plaintiffs,
                                             DATE AND SETTING BRIEFING
14                                           SCHEDULE [418]
                  v.
15
16   ERIC H. HOLDER, JR., Attorney
     General of the United States; et al.,
17
18           Defendants.
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Case 2:85-cv-04544-DMG-AGR Document 419 Filed 04/20/18 Page 2 of 2 Page ID #:16417




 1         THIS CAUSE comes before the Court upon the Parties’ Stipulation for
 2   Extension of Hearing Date and Briefing Schedule.
 3         UPON CONSIDERATION of the Stipulation, and for the reasons set forth
 4   therein, the Court hereby ORDERS that the hearing date for Plaintiffs’ Motion to
 5   Enforce [Doc. # 409] is reset, and the briefing schedule is set as follows:
 6
                 Defendants’ opposition to be filed on or before May 25, 2018.
 7
                 Plaintiffs’ reply to be filed on or before June 15, 2018.
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                 Hearing reset for June 29, 2018 at 10:00 a.m.
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     IT IS SO ORDERED.
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11   DATED: April 20, 2018
12                                          DOLLY M. GEE
                                            UNITED STATES DISTRICT JUDGE
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